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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------   X
UNITED STATES STEEL CORPORATION,                               :
NIPPON STEEL CORPORATION, and NIPPON                           :
STEEL NORTH AMERICA, INC.,                                     :    Civil Action No.: 2:25-cv-15
                                                               :
                            Plaintiffs,                        :
                                                               :
       vs.                                                     :
                                                               :
CLEVELAND-CLIFFS INC., LOURENCO                                :
GONCALVES, and DAVID McCALL,                                   :
                                                               :
                            Defendants.                        :
------------------------------------------------------------   X




              TABLE OF EXHIBITS TO PLAINTIFFS’ OPPOSITION TO
          DEFENDANTS’ MOTIONS TO DISMISS COUNTS I, IV, VIII, AND IX
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                                   TABLE OF EXHIBITS

Exhibit A: Letter, dated July 28, 2023, from CEO of Cleveland-Cliffs Inc. to United States Steel
           Corporation

Exhibit B: Letter, dated August 3, 2023, from President of the United Steelworkers

Exhibit C: Transcript of call between CEO of Cleveland-Cliffs Inc. and Pentwater Capital
           Management on March 15, 2024

Exhibit D: Plaintiffs’ Proposed Preliminary Injunction Order, as sent to Defendants on January
           29, 2025
